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                               AFFIDAVIT
I, PATRICK FEDERS, being duly sworn, declare and state as

follows:

                           I. INTRODUCTION
        1.   I am a Special Agent with the Federal Bureau of

Investigation (“FBI”) and have been so employed since March

2016.    Since October 2016, I have been assigned to the Complex

Financial Crimes squad of the Los Angeles Field Office, where I

specialize in investigating allegations of securities fraud,

insider trading, wire fraud, mail fraud, and money laundering.

I have investigated and participated in several white-collar

fraud investigations and have also participated in the execution

of arrest and search warrants.      Prior to my current assignment,

I completed approximately 21 weeks of training in investigative

techniques at the FBI Academy in Quantico, Virginia.

        2.   I received a Bachelor of Business Administration with

Honors from Loyola University Chicago.       Prior to joining the

FBI, I worked in public accounting for approximately eight and

one-quarter years.    I am a Certified Public Accountant

registered in Illinois and have been so since 2009.

        3.   In addition to my formal training and personal

experience, I have learned from and worked alongside numerous

senior FBI agents with years of experience in various criminal

investigations including, but not limited to, corporate fraud,

mail fraud, wire fraud, securities fraud, and insider trading.

Throughout my experiences with these senior agents, I have

received guidance, training, and hands-on experience in various
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investigative techniques including, but not limited to,

interviewing, surveillance, financial analysis, and other

investigative techniques, including with respect to the

identification and tracing of illicit proceeds.

                       II. PURPOSE OF AFFIDAVIT
     4.      This affidavit is made in support of a criminal

complaint against, and arrest warrant for, RUIXUE SHI, also

known as “Serena Shi” (“SHI”), for a violation of 18 U.S.C.

§ 1343 (Wire Fraud).

     5.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

does not purport to set forth all of my knowledge of or

investigation into this matter.      Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.

                    III. SUMMARY OF PROBABLE CAUSE
     6.      Between in or around November 2015 and in or around

July 2018, SHI solicited investments for a condominium and hotel

complex called the Hyde Resorts and Residences Coachella Valley

(the “Hyde Development”).     To solicit investments, SHI falsely

told investors that she had purchased the land necessary to

build this complex in Coachella, California; that she had

acquired the necessary approvals from the City of Coachella; and

that their investments would be used to finish the Hyde


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Development.   SHI raised approximately $21.6 million from

victims based primarily in China through wire transfers from

bank accounts in China.     SHI then misappropriated a significant

portion of the investor funds to pay for her lavish living

expenses, including millions of dollars in payments to luxury

travel and styling agencies.

                   IV. STATEMENT OF PROBABLE CAUSE
     7.   Based on witness interviews I have conducted, my

review of documents obtained from third parties, reports of

interviews conducted by other law enforcement officers,

conversations with other law enforcement officers, and publicly

filed documents, I know the following:

     A.   SHI and Global House Buyer
     8.   SHI is a Chinese citizen who resides in Los Angeles

County, California.    From witness interviews I have conducted

and reports I have reviewed, I know that SHI represented herself

to possible investors as the president and owner of a company

called GLOBAL HOUSE BUYER (“GHB”), a real estate development

company that was based in China, and as the owner of HYDE MORGAN

DEVELOPMENT, LLC (“HYDE MORGAN”).

     9.   In September 2017, SHI was selected for secondary

screening when she arrived at the Los Angeles International

Airport (“LAX”), and was interviewed by United States Customs

and Border Protection officers.      During the interview, SHI

identified herself as the General Manager of GHB.         SHI told the

interviewing officers that GHB was located in China, but had an

office in Los Angeles, California.       SHI further stated that she


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previously worked at, and now had contacts at, the New York

Immigration Fund, an approved sponsor of the EB-5 Immigrant

Investor Program (the “EB-5 Program”), which I know to be a

federal program administered by the United States Citizenship

and Immigration Services that allows foreign investors to secure

a United States visa by investing a large sum of money to

finance a business in the United States that would employ

American workers.    The threshold for investment in the EB-5

Program is now $900,000, but in 2016 it was as low as $500,000.

     10.   According to public documents filed with the

California Secretary of State (“CA SOS”), SHI is the registered

agent for service of process of the following California Limited

Liability Companies bearing the name “GHB”: GHB Development,

LLC; GHB Don Juan Villas, LLC; and GHB Golden Oaklein, LLC.           CA

SOS records also show that SHI is the registered agent for

service of process for and Chief Executive Officer of a

California Limited Liability Company called Hyde Morgan

Development, LLC (HYDE MORGAN).      The addresses provided for

these entities on the CA SOS documents are all associated with

SHI in public records databases that I have reviewed.

     11.   Bank records obtained during the course of this

investigation show that SHI controlled a number of bank accounts

with Wells Fargo (collectively, the “SHI WF accounts”),

including the following:

           a.   A personal checking account in the name of

“Ruixue Shi,” ending in 0431 (the “WF 0431 account”);




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             b.   A business checking account in the name of GHB

Development LLC, ending in 7317 (the “WF 7317 account”);

             c.   A business checking account in the name of

Coachella Valley Hotel LLC, ending in 2940 (the “WF 2940

account”);

             d.   A business checking account in the name of

Coachella Valley Hotel LLC, ending in 1713 (the “WF 1713

account”);

             e.   A business checking account in the name of Hyde

Morgan Development LLC, ending in 0857 (the “WF 0857 account”);

             f.   A business checking account in the name of Hyde

Morgan Development LLC, ending in 9468 (the “WF 9468 account”);

and

             g.   A business checking account in the name of Hyde

Morgan Development LLC, ending in 9252 (the “WF 9252 account”).

      B.     SHI Solicits $21.6 Million in Investment in the Hyde
             Development Through Material False Statements and
             Omissions of Fact
      12.    From public record searches, I know that “Hyde” is a

luxury hotel and nightlife brand owned by SBE Entertainment

(“SBE”), a privately held lifestyle hospitality company based in

Los Angeles, California, that manages and operates hotels,

restaurants, and nightclubs.      Dakota Development is a real

estate development subsidiary of SBE that develops SBE’s hotel

projects, including projects under the Hyde brand.

      13.    According to witnesses who have provided statements to

law enforcement officers, in November 2015, SHI began to solicit

investments in a GHB project that would be located in Coachella


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Valley, California.    SHI told the prospective investors that GHB

had purchased a 47-acre parcel of land in Coachella and was

developing a 207-unit luxury condominium and hotel complex under

the Hyde brand name in connection with Dakota Development, 1 which
was to have a total of 95,000 square feet of on-site conference

facilities, a pool complex, a spa, a fitness center, and other

site amenities.   The complex was to be called Hyde Resorts and

Residences Coachella Valley (the Hyde Development), and GHB

would be developing the complex and soliciting investments

through HYDE MORGAN.

     14.   Witnesses described how SHI contacted them as

potential investors for the Hyde Development by giving sales

presentations at hotels, releasing radio advertisements, and

soliciting investments over forums on WeChat, a Chinese multi-

purpose messaging, social media, and mobile payment application.

SHI targeted the Chinese population in her marketing materials,

the majority of which was in the Chinese language.         Some

witnesses have described attending a sales presentation that SHI

gave in Beijing in November 2015, during which she was

accompanied by the Managing Director of United States operations

for GHB (“GHB Director”), representatives from Dakota

Development, the Coachella City Manager, and the Coachella

Economic Development Manager. 2


     1 According to information from the Managing Director of
United States operations for GHB, GHB signed a letter of intent
with SBE for SBE to manage the hotel under the brand name Hyde.
     2 According to travel records I obtained, SHI traveled from
LAX to the Beijing Capital International Airport (“PEK”) on


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     15.     From witness statements and GHB marketing materials I

have reviewed, I know that SHI, either directly or through GHB /

HYDE MORGAN marketing materials, made the following

representations about the Hyde Development to investors while

soliciting investments:

             a.   The Hyde Development was scheduled to begin

construction in 2017.     Investors would be purchasing a Hyde

Development condominium unit, which ranged in price between

$400,000 and $700,000.     Investors would be required under the

Hyde Development contracts to pay 40% of the total purchase

price upfront as a down payment, and SHI told investors that GHB

would help them finance the remaining balance from banks in the

United States when the project was fully completed.

             b.   Under the terms of the contracts provided to the

investors, HYDE MORGAN would lease back the units from the

investors at the rate of 1% of the unit purchase price per month

as rent for a specified lease term of either 5, 10, 15, or 20

years.     After the lease term had expired, the contract dictated

that HYDE MORGAN would have the option to buy back the unit from

the investors at specified prices.

             c.   Chinese investors who invested in the Hyde

Development would be eligible to obtain visas through the EB-5

Program.    For example, victim L.C. told law enforcement officers

that SHI told her personally that SHI would procure a long-term


October 17, 2015, and returned on December 16, 2015. The GHB
Director, Coachella City Manager, and Coachella Economic
Development Manager each traveled from the United States to PEK
on November 19, 2015, and returned several days later.

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United States visa for L.C. through the EB-5 Program if L.C.

invested $500,000 in the Hyde Development.

            d.     SHI told investors to make their payments to GHB

in multiple installments of slightly less than $50,000.

     16.    Between in or around November 2015 and in or around

December 2017, bank records from Wells Fargo show that

approximately $21.6 million was deposited into the SHI WF

accounts.    These deposits were made by wire transfers from

individuals, the vast majority of which originated from banks

located in China.         Most of the deposits were in amounts slightly

below $50,000.         For example, the Wells Fargo bank records show

the following foreign wire transfers made from banks in China to

GHB-related Wells Fargo accounts that SHI controlled:

   DATE           VICTIM                    WIRE TRANSFER

8/23/2016        C.L          Wire transfer by victim C.L. of
                              approximately $43,005 from a bank
                              account in China to the WF 2940 account.
10/27/2016       Y.J.R.       Wire transfer by victim Y.J.R. of
                              approximately $50,000 from a bank
                              account in China to the WF 2940 account.
10/28/2016       F.D.         Wire transfer by victim F.D. of
                              approximately $43,000 from a bank
                              account in Hong Kong to the WF 2940
                              account.
11/2/2016        Z.N.         Wire transfer by victim Z.N. of
                              approximately $38,758 from a bank
                              account in China to the WF 2940 account.
11/17/2016       F.D.         Wire transfer by victim F.D. of
                              approximately $50,000 from a bank
                              account in Hong Kong to the WF 2940
                              account.
12/12/2016       S.S.W.       Wire transfer by victim S.S.W. of
                              approximately $39,985 from a bank
                              account in China to the WF 1713 account.




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      17.   Based on witness statements and the Hyde Development

contracts and marketing materials I have reviewed, there is

probable cause to believe that SHI made material false

statements and omissions of fact to the investors while

soliciting their investments in the Hyde Development.           For

example:

            a.    SHI represented to the investors that their funds

would be used to fund, and as an investment in, the Hyde

Development.     In truth, however, as discussed below, infra
Section IV.C, SHI used a significant portion of the investors’

funds to pay for her own lavish lifestyle.

            b.    SHI concealed the material information that she

would be using investor funds for her own personal expenses when

she was soliciting investments.

            c.    SHI represented to investors that GHB had

purchased the 47-acre lot of land in Coachella Valley where the

Hyde Development was to be built.        In truth, however, SHI

purchased only 20 acres of the property.         In a December 6, 2017

email to a victim-investor, the Development Services Director of

the City of Coachella stated that SHI had been “unable to close

escrow on the 27-acre portion of the property that fronts on

Vista Del Norte street.”      Public records and escrow documents

obtained during the course of this investigation similarly show

that while SHI purchased the approximately 20-acre property

located at 45260 Harrison Street in Coachella, California, she

never purchased the adjacent property of approximately 27 acres

on Vista Del Norte Street.


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            d.   SHI represented to investors that GHB had

obtained the required city development approvals for the Hyde

Development, which, according to the pre-application for the

Hyde Development, included re-zoning of the two parcels of land

that SHI had purportedly purchased.        In truth, however, public

records show that, as of June 2020, neither parcel has been re-

zoned per the city’s requirements for the Hyde Development.             In

addition, in the same December 6, 2017 email described above,

supra ¶ 17.c, the Coachella Development Services Director stated
that the City of Coachella was “hopeful that the developer [GHB]

[would] close escrow soon and that the project [would] proceed

in getting its development approvals in early 2018.          However,

that depends on whether GHB is successful in getting title to

the entire property and working closely with their design team

to get all required City approvals.”

      18.   In or around early 2017, certain victim-investors

attempted to contact SHI to determine the status of the Hyde

Development after hearing that GHB was no longer in operation in

the United States.     Some victim-investors began to demand

refunds of SHI of their initial investments, and SHI provided

partial refunds to certain victims if they agreed to sign a

“Confidential Termination Agreement and General Release” that

purported to prevent the victims from disclosing that they

received a partial refund. 3     In an apparent attempt to placate

the victim-investors who had begun asking questions about the

      3Based on my review of the bank records and witness
statements, I believe that the majority of investors never
received any refund.

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Hyde Development, and to conceal her fraud from them, SHI made

additional false statements.       For example, witnesses described

and provided copies of communications they received from GHB in

early 2017.    In these communications, GHB claimed that the Hyde

Development had broken ground, and GHB provided photographs of

what purported to be construction efforts underway, including

the following:




In truth, from conversations with law enforcement officers who

have visited the lot of land in Coachella where the Hyde

Development was supposed to be built, and from the

correspondence from Coachella city officials described above,
supra ¶¶ 17.c-d, I know that GHB never began construction on the
Hyde Development and, in fact, never even purchased the entire

plot of land where the Hyde Development was to be built.




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      C.    SHI Uses the Investor Funds to Pay for Her Lavish
            Lifestyle
      19.   After victim-investors began to deposit money into the

SHI WF accounts, Wells Fargo records for these accounts show

that SHI transferred the victims’ funds repeatedly across the

SHI WF accounts and then misappropriated a significant amount of

the victims’ funds for her own personal expenses.          For example,

documents from Wells Fargo show the following payments from the

SHI WF accounts that were used for SHI’s personal expenses:

            a.   Approximately 29 payments from the WF 7317

account, the WF 2940 account, the WF 0857 account, and the WF

9252 account, totaling approximately $2.2 million, to Element

Lifestyle, LLC, a company that provides luxury travel and

concierge services;

            b.   Approximately nine payments from the WF 7317

account and the WF 2940 account, totaling approximately

$787,800, to Deanna Zaccari Lifestyle Design, a full-service

styling agency in Beverly Hills, California;

            c.   A payment of $294,498.65 from the WF 2940 account

to Downtown L.A. Mercedes-Benz, to purchase two Mercedes Benz

cars: a 2016 Mercedes G550 and a 2017 Mercedes GTS;

            d.   A payment of approximately $132,995 from the WF

2940 account to Valentino USA, Inc., a high-end clothing

designer; and

            e.   Numerous charges from the WF 0431 account and the

0857 account, totaling hundreds of thousands of dollars, on




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clothes, restaurants, and hotels in Beverly Hills, France,

Thailand, and China.

      20.   Based on my review of a financial analysis conducted

by an FBI forensic accountant of the SHI WF accounts into which

the victim funds were deposited, I know that the approximately

$21.6 million in victim funds deposited into these accounts

comprised the vast majority of the funds in these accounts.            All

of the SHI WF accounts had a minimal or zero beginning balance

before the victim-investor funds began to be deposited, and the

non-victim funds being deposited into these accounts were

minimal compared to the amount of victim funds being deposited.

As a result, the personal expenses described above, supra ¶ 19,
could only have been paid for with the victim-investor funds.

                                 * * * *

      21.   Based on the above information, there is probable

cause to believe that SHI made material false statements and

omissions of fact to solicit investments in the Hyde Development

and that she misappropriated the victims’ investments in the
Hyde Development for her own personal expenses.

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